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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

CLIFFORD F. TUTTLE, JR., AS               §
REPRESENTATIVE OF THE ESTATE              §
OF DENNIS W. TUTTLE, DECEASED,            §
ROBERT TUTTLE, AND RYAN TUTTLE,           §
                                          §
                      Plaintiffs,         §
                                          §
v.                                        §
                                          §
CITY OF HOUSTON, GERALD GOINES, §                   Civil Action No.: 4:21-cv-270
in his individual capacity; STEVEN        §
BRYANT, in his individual capacity;       §
FELIPE GALLEGOS, in his individual        §
capacity; ERIC SEPOLIO, in his individual §
capacity; MANUEL SALAZAR, in his          §
individual capacity; THOMAS WOOD,         §
in his individual capacity; OSCAR PARDO, §
in his individual capacity; FRANK         §
MEDINA, in his individual capacity;       §
CLEMENTE REYNA, in his individual         §
capacity; CEDELL LOVINGS, in his          §
individual capacity; NADEEM ASHRAF,       §
in his individual capacity, MARSHA TODD, §
in her individual capacity, and ROBERT    §
GONZALES, in his individual capacity,     §
                                          §
                      Defendants.         §

                                  CONSOLIDATED WITH

JOHN NICHOLAS, as temporary                     §
administrator of the Estate of Rhogena          §
Nicholas and JO ANN NICHOLAS,                   §
individually and as an heir of the Estate of    §
Rhogena Nicholas,                               §
                                                §
                       Plaintiffs,              §
                                                §
v.                                              §
                                                §
CITY OF HOUSTON; ART ACEVEDO, in §
his official capacity as the chief of police of §
the Houston Police Department, GERALD §
GOINES, in his individual capacity;             §
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STEVEN BRYANT, in his individual          §
capacity; FELIPE GALLEGOS, in his         §
individual capacity; ERIC SEPOLIO, in his §
individual capacity; MANUAL SALAZAR, §
in his individual capacity; THOMAS        §
WOOD, in his individual capacity; OSCAR §
PARDO, in his individual capacity; FRANK §
MEDINA, in his individual capacity;       §
CLEMENTE REYNA, in his individual         §
capacity; CEDELL LOVINGS, in his          §
individual capacity; NADEEM ASHRAF,       §
in his individual capacity; MARSHA TODD, §
in her individual capacity; and ROBERT    §
GONZALEZ in his individual Capacity,      §
                                          §
                      Defendants.         §

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs Clifford F. Tuttle,

Jr., as representative of the Estate of Dennis W. Tuttle, Robert Tuttle, and Ryan Tuttle, Patricia

Nicholas, as temporary administrator of the Estate of Rhogena Nicholas and Jo Ann Nicholas,

individually and as an heir of the Estate of Rhogena Nicholas (collectively “Plaintiffs”), and

Defendants Nadeem Ashraf, Robert Gonzales, Cedell Lovings, Frank Medina, Oscar Pardo,

Clemente Reyna, Manuel Salazar, Eric Sepolio, and Thomas Wood (collectively “Stipulating

Defendants”), jointly stipulate to the dismissal with prejudice of all claims of excessive force in

violation of the Fourth and Fourteenth Amendment pursuant to 42 U.S.C.S. §§ 1983, 1988,

against Defendants Nadeem Ashraf, Robert Gonzales, Cedell Lovings, Frank Medina, Oscar

Pardo, Clemente Reyna, Manuel Salazar, Eric Sepolio, and Thomas Wood [Docs. #48 and #49],

with Plaintiffs and Stipulating Defendants to bear their own costs and expenses and agreeing to

forego any attempt to seek attorney’s fees against each other as to all claims in this action. This

stipulation does not preclude any Plaintiff from seeking costs or expenses or attorney’s fees

against any non-Stipulating Defendant and does not preclude any non-Stipulating Defendant from

seeking costs or expenses or attorney’s fees against any Plaintiff. This stipulation of dismissal has

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been signed by all parties who have appeared. Therefore, pursuant to Rule of Civil Procedure

41(a)(1)(A)(ii), this dismissal is effective on the filing of this stipulation, without further action

or order of the Court.

                                              Respectfully submitted,
                                              ARTURO G. MICHEL
                                              City Attorney

Date: August 5, 2024.                   By:    /s/ Christy L. Martin
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 5th day of August 2024 a true and correct copy of the foregoing

document was delivered to all opposing counsel(s) by electronic filing of same in accordance with

the District's ECF service rules, and alternatively via facsimile transmission, to:

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